[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]
DECISION
After trial, the court finds that as of October 1, 1991, the plaintiffs' property at 683 Prospect Street, New Haven, had a fair market value of $335,000.
In making this finding the court generally credited the testimony of the defendant's appraiser who: (1) used comparables more similar to the subject property; (2) calculated more accurately the square footage of living area of the subject property; and (3) made more appropriate adjustments for the difference in location between the subject property and the comparables.
Judgment is entered that the tax assessment for the plaintiffs' property shall be reduced accordingly. This appeal is sustained with costs.
Christine S. Vertefeuille, Judge